            Case
   Fill in this      2:24-bk-15335-BB
                information to identify the case:             Doc 25-1 Filed 10/08/24 Entered 10/08/24 15:25:59                                     Desc
                                                                Official Form 423 Page 1 of 1
  Debtor 1          __________________________________________________________________
                      First Name                Middle Name              Last Name

  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name                Middle Name              Last Name


  United States Bankruptcy Court for the: __________ Districtofof__________
                                          __________ District     __________

  Case number         ___________________________________________
   (If known)




Official Form 423
Certification About a Financial Management Course                                                                                                           12/15

If you are an individual, you must take an approved course about personal financial management if:
 you filed for bankruptcy under chapter 7 or 13, or
 you filed for bankruptcy under chapter 11 and § 1141 (d)(3) applies.

In a joint case, each debtor must take the course. 11 U.S.C. §§ 727(a)(11) and 1328(g).

After you finish the course, the provider will give you a certificate. The provider may notify the court that you have completed the course.
If the provider does notify the court, you need not file this form. If the provider does not notify the court, then Debtor 1 and Debtor 2 must
each file this form with the certificate number before your debts will be discharged.

 If you filed under chapter 7 and you need to file this form, file it within 60 days after the first date set for the meeting of creditors under
  § 341 of the Bankruptcy Code.

 If you filed under chapter 11 or 13 and you need to file this form, file it before you make the last payment that your plan requires or
  before you file a motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Bankruptcy Code. Fed. R. Bankr. P. 1007(c).

In some cases, the court can waive the requirement to take the financial management course. To have the requirement waived, you must file a
motion with the court and obtain a court order.

 Part 1:            Tell the Court About the Required Course


 You must check one:

           I completed an approved course in personal financial management:

           Date I took the course             ___________________
                                              MM / DD / YYYY


           Name of approved provider          ______________________________________________________________________


           Certificate number                 ______________________________________________________________________


          I am not required to complete a course in personal financial management because the court has granted my motion for a
           waiver of the requirement based on (check one):
                  Incapacity.     I have a mental illness or a mental deficiency that makes me incapable of realizing or making rational decisions
                                   about finances.

                  Disability.     My physical disability causes me to be unable to complete a course in personal financial management in person,
                                   by phone, or through the internet, even after I reasonably tried to do so.
                  Active duty. I am currently on active military duty in a military combat zone.

                  Residence. I live in a district in which the United States trustee (or bankruptcy administrator) has determined that the
                              approved instructional courses cannot adequately meet my needs.

 Part 2:  Sign Here


          I certify that the information I have provided is true and correct.


   8 ________________________________________________                      ________________________________________        Date _________________
          Signature of debtor named on certificate                         Printed name of debtor                               MM / DD / YYYY


Official Form 423                                              Certification About a Financial Management Course

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